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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                               Case No. 1:20-mj-67-GRJ

MOHAMED FATHY SULIMAN
_____________________________/

                          ORDER OF DETENTION

      On February 10, 2021, this matter came before the Court on the

Government’s motion for detention of Defendant pending trial, pursuant to

the Bail Reform Act of 1984, 18 U.S.C. § 3142. Defendant is charged in a

Criminal Complaint with attempting to knowingly provide material support or

resources to a foreign terrorist organization, in violation of 18 U.S.C. §

2339B. After consultation, Defendant’s Counsel advised the Court that

Defendant elected to waive a detention hearing at this time, without

prejudice to his right to request a detention hearing at a later date.

      Accordingly, it is ORDERED AND ADJUDGED that:

      1.    The Government’s motion for detention is GRANTED.

      2.    Pending further proceedings, Defendant is committed to the
            custody of the Attorney General, or his designated
            representative, for confinement in a corrections facility
            separate, to the extent practicable, from persons awaiting or
            serving sentences or being held in custody pending appeal.
            Defendant shall be afforded reasonable opportunity for private
            consultation with defense counsel. On order of a court of the
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     United States, or on request of an attorney for the Government,
     the person in charge of the corrections facility shall deliver
     Defendant to the United States Marshal for the purpose of an
     appearance in connection with a court proceeding.

DONE AND ORDERED this 10th day of February 2021.

                                    s/Gary R. Jones
                                   GARY R. JONES
                                   United States Magistrate Judge




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